                                   Case 4:23-cv-05580-DMR Document 17-2 Filed 12/04/23 Page 1 of 2


                             1   Bonnie MacNaughton (CA State Bar No. 107402)
                                 Emily Goodell (pro hac vice)
                             2   DAVIS WRIGHT TREMAINE LLP
                                 920 Fifth Avenue, Suite 3300
                             3   Seattle, WA 98104
                                 Telephone:    (206) 622-3150
                             4   Facsimile:    (206) 757-7700
                                 Email:        bonniemacnaughton@dwt.com
                             5                 emilygoodell@dwt.com

                             6   John D. Freed (CA State Bar No. 261518)
                                 DAVIS WRIGHT TREMAINE LLP
                             7   505 Montgomery Street, Suite 800
                                 San Francisco, CA 94111-6533
                             8   Telephone:    (415) 276-6500
                                 Facsimile:    (415) 276-6599
                             9   Email:        jakefreed@dwt.com

                            10   Attorneys for Plaintiff
                                 AMAZON.COM, INC. and AMAZON TECHNOLOGIES, INC.
                            11
DAVIS WRIGHT TREMAINE LLP




                            12

                            13                             UNITED STATES DISTRICT COURT
                            14                           NORTHERN DISTRICT OF CALIFORNIA
                            15                                        OAKLAND DIVISION
                            16   AMAZON.COM, INC., a Delaware corporation,       Case No. 4:23-cv-05580-DMR
                                 and AMAZON TECHNOLOGIES, INC.,
                            17                                                   DECLARATION OF EMILY GOODELL
                                                         Plaintiff,              IN SUPPORT OF MOTION FOR
                            18
                                                                                 EXPEDITED DISCOVERY
                                       v.
                            19
                                 UMER WASIM, et al.,
                            20                           Defendants.
                            21

                            22

                            23

                            24

                            25

                            26

                            27

                            28

                                                                              1
                                 DECLARATION OF EMILY GOODELL ISO MOTION FOR EXPEDITED DISCOVERY
                                 Case No. 4:23-cv-05580-DMR
                                   Case 4:23-cv-05580-DMR Document 17-2 Filed 12/04/23 Page 2 of 2


                             1           I declare under penalty of perjury under laws of the State of California that the foregoing
                             2   is true and correct.
                             3           1.      I am over the age of eighteen and am competent to testify as to the matters set
                             4   forth herein. I have personal knowledge of the facts in this declaration, and base this declaration
                             5   on my personal knowledge.
                             6           2.      I work for the law firm Davis Wright Tremaine (“DWT”), which represents
                             7   Plaintiffs Amazon.com, Inc. and Amazon Technologies, Inc., in this matter.
                             8           3.      Obtaining a stipulation to the proposed relief is not possible because, although
                             9   Plaintiffs have begun serving the approximately fifteen U.S.-based Defendants, no Defendants
                            10   have yet formally appeared in the case. There is currently no Defendant with a filed appearance
                            11   with whom Plaintiffs can enter a stipulation.
DAVIS WRIGHT TREMAINE LLP




                            12

                            13   Executed this 4th day of December, 2023 in Seattle, Washington.
                            14
                                                                           By: s/ Emily Goodell
                            15                                                Emily Goodell (pro hac vice)
                            16

                            17

                            18

                            19

                            20

                            21

                            22

                            23

                            24

                            25

                            26

                            27

                            28

                                                                              2
                                 DECLARATION OF EMILY GOODELL ISO MOTION FOR EXPEDITED DISCOVERY
                                 Case No. 4:23-cv-05580-DMR
